Case 1:14-cv-02329-DLI-VMS Document 314 Filed 11/04/21 Page 1 of 1 PageID #: 7994




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------X
   JERICHO GROUP LTD.,

                                     Plaintiff,                        JUDGMENT
                   -against-                                           14-CV-2329 (DLI) (VMS)


  MID-TOWN DEVELOPMENT LIMITED
  PARTNERSHIP, et al.,

                                      Defendants.
   ---------------------------------------------------------------X

          An Order of the Honorable Dora L. Irizarry, United States District Judge, having been

  filed on November 1, 2021, directing the Clerk of Court to enter judgment; it is

          ORDERED and ADJUDGED that pursuant to the September 22, 2017 Order of

  Settlement, a Confession of Judgment in the amount of $350,000 is hereby entered against

  Samuel Pfeiffer and Plaintiff Jericho Group Ltd.

  Dated: Brooklyn, New York                                            Douglas C. Palmer
         November 2, 2021                                              Clerk of Court

                                                                 By:    /s/Jalitza Poveda
                                                                        Deputy Clerk
